Case 3:10-cv-03561-WHA Document 509-42 Filed 10/07/11 Page 1 of 6




                    EXHIBIT 4-2
     Case 3:10-cv-03561-WHA Document 509-42 Filed 10/07/11 Page 2 of 6

                                 Attorneys' Eyes Only

1                      UNITED STATES DISTRICT COURT

2                    NORTHERN DISTRICT OF CALIFORNIA

3                       SAN FRANCISCO DIVISION

4                                   ---o0o---

5

6    ORACLE AMERICA, INC.,                   )

7              Plaintiff,                    )

8      vs.                                   )     No. CV 10-03561 WHA

9    GOOGLE, INC.,                           )

10             Defendant.                    )

11   ______________________________)

12

13

14

15           CONFIDENTIAL TESTIMONY - ATTORNEYS' EYES ONLY

16     VIDEOTAPED 30(b)(6) DEPOSITION OF ORACLE AMERICA, INC.

17                          DESIGNEE:       JOHN PAMPUCH

18                           FRIDAY, JULY 29, 2011

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24

25   PAGES 1 - 220

                                                                        Page 1

                   Veritext National Deposition & Litigation Services
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                                  EXHIBIT 4-2
     Case 3:10-cv-03561-WHA Document 509-42 Filed 10/07/11 Page 3 of 6

                                   Attorneys' Eyes Only

1               Let's move on to the next -- the third                   2:13:09PM

2    topic that you were designated to testify about

3    today.   And again --

4         A     Sure.

5         Q     -- we may jump back to these previous two                2:13:16PM

6    topics and ask, you know, some questions or to the

7    extent that there is, you know, relevant questions

8    that overlaps between the different topics.

9               MR. FRANCIS:     So I'll identify as

10   Exhibit 273 Defendant Google, Inc.'s Corrected Third                2:13:32PM

11   Notice of Rule 30(b)(6) Deposition of Plaintiff

12   Oracle America, Inc.

13                           (Defendant's Exhibit 273 marked

14                           for identification.)

15   BY MR. FRANCIS:                                                     2:13:47PM

16        Q     And if we look at Topic Number 9 on

17   page 3, it states:

18                      "The practice of the asserted

19              claims of U.S. Patent No. 5,966,702

20              by JavaOS (including the                                 2:14:13PM

21              identification of the specific

22              functionality within JavaOS

23              practicing the claims, the date of

24              the first inclusion of that

25              functionality in JavaOS, and any                         2:14:25PM

                                                                          Page 118

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                                    EXHIBIT 4-2
     Case 3:10-cv-03561-WHA Document 509-42 Filed 10/07/11 Page 4 of 6

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1              public disclosure(s), license(s),                           2:14:27PM

2              sale(s), or offer(s) to license or

3              sell of JavaOS before October 31,

4              1996)."

5              Is that correct?                                            2:14:37PM

6         A    That's what it says.

7         Q    Do you recognize this document?

8         A    Yes, I have seen this.

9         Q    When did you see this?

10        A    Yesterday.                                                  2:14:46PM

11        Q    For the first time yesterday?

12        A    Yes.

13        Q    Are you prepared to testify on this topic?

14        A    I can testify about the implementation of

15   the mclass technology in JavaOS and I can talk to                     2:15:01PM

16   the dates that that technology became available.

17        Q    Can you talk about the actual asserted

18   claims of the patent, as opposed to just the general

19   technology?

20        A    I've never seen the patent, and I                           2:15:25PM

21   certainly don't have the expertise to analyze the

22   patent.

23        Q    Can you testify regarding any public

24   disclosures of JavaOS before October 31, 1996?

25        A    No, not significantly, because I'm not                      2:15:53PM

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                                        866 299-5127
                                     EXHIBIT 4-2
     Case 3:10-cv-03561-WHA Document 509-42 Filed 10/07/11 Page 5 of 6

                                  Attorneys' Eyes Only

1           A   For this topic, no.     I only reviewed the              2:22:35PM

2    source code myself.

3           Q   What about for any other topics?

4           A   Hinkmond Wong I think worked on JavaOS,

5    and we talked about recovery of the files.                          2:22:49PM

6           Q   But you didn't discuss this topic with

7    him?

8           A   Not the implementation, no.

9           Q   Why not?

10          A   I didn't think it was necessary.         I had --        2:23:02PM

11   you know, the source code is self-explanatory.

12          Q   Do you know if Hinkmond is familiar with

13   the '702 patent?

14          A   I don't know whether he's familiar with it

15   or not.                                                             2:23:22PM

16          Q   You testified that you have never seen the

17   '702 patent; is that correct?

18          A   That's correct.

19          Q   So how are you prepared to testify about

20   the practice of the '702 patent by JavaOS if you                    2:23:40PM

21   have never actually seen the patent?

22          A   Well, as I said, I can talk about the

23   implementation that's in JavaOS 1.1.

24          Q   But the topic doesn't ask about the

25   implementation of JavaOS, it asks for -- it asks                    2:24:01PM

                                                                          Page 124

                    Veritext National Deposition & Litigation Services
                                      866 299-5127
                                   EXHIBIT 4-2
Case 3:10-cv-03561-WHA Document 509-42 Filed 10/07/11 Page 6 of 6




                           EXHIBIT 4-2
